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 5
                                UNITED STATES DISTRICT COURT
 6
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8
 9      UNITED STATES OF AMERICA,                               Case No. CR19-159RSL

10                          Plaintiff,                          ORDER GRANTING
11                     v.                                       UNOPPOSED MOTION TO
                                                                CONTINUE TRIAL DATE
12      PAIGE A. THOMPSON,                                      AND PRETRIAL MOTIONS
13                          Defendant.                          DEADLINE

14
15         This matter comes before the Court on defendant’s “Unopposed Motion to Continue Trial
16 Date and Pretrial Motions Deadline.” Dkt. # 93. Having considered the facts set forth in the
17 motion, and defendant’s knowing and voluntary waiver, Dkt. # 94, the Court finds as follows:
18 1.      The Court adopts the facts set forth in the unopposed motion: specifically, that the
19 government is likely to continuing generating and producing discovery, and defense counsel
20 needs additional time to review discovery and to retain and consult with experts. The Court
21 accordingly finds that a failure to grant a continuance would deny counsel, and any potential
22 future counsel, the reasonable time necessary for effective preparation, taking into account the
23 exercise of due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).
24 2.      The Court finds that a failure to grant a continuance would likely result in a miscarriage
25 of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i).
26 3.      The Court finds that the additional time requested between June 7, 2021 and the proposed
27 trial date of July 12, 2021, is a reasonable period of delay. The Court finds that this additional
28
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     TRIAL DATE AND PRETRIAL MOTIONS DEADLINE - 1
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 1 time is necessary to provide defense counsel reasonable time to prepare for trial, considering all
 2 the facts set forth above.
 3 4.      The Court further finds that this continuance would serve the ends of justice, and that
 4 these factors outweigh the best interests of the public and defendant in a speedier trial, within
 5 the meaning of 18 U.S.C. § 3161(h)(7)(A).
 6 5.      Defendant has signed a waiver indicating that she has been advised of her right to a
 7 speedy trial and that, after consulting with counsel, she has knowingly and voluntarily waived
 8 that right and consented to the continuation of her trial to a date up to and including July 26,
 9 2021, Dkt. # 94, which will permit her trial to start on July 12, 2021.
10         IT IS HEREBY ORDERED that the trial date shall be continued from June 7, 2021, to
11 July 12, 2021, and pretrial motions are to be filed no later than March 12, 2021, and shall be
12 noted for consideration no earlier than the fourth Friday after the filing date;
13         IT IS FURTHER ORDERED that responses to any pre-trial motions are due on April 2,
14 2021 (or twenty-one (21) days after the filing of any motion filed prior to March 12, 2021), and
15 any replies thereto are due on April 9, 2021 (or seven (7) days after filing of any response filed
16 prior to March 12, 2021); and
17         IT IS FURTHER ORDERED that the period of time from the current trial date of June 7,
18 2021, up to and including July 12, 2021, shall be excludable time pursuant to the Speedy Trial
19 Act, 18 U.S.C. § 3161, et seq. The period of delay attributable to this filing and granting of this
20 motion is excluded for speedy trial purposes pursuant to 18 U.S.C. §§ 3161(h)(1)(D), (h)(7)(A),
21 and (h)(7)(B)(i), (iv).
22         IT IS SO ORDERED.
23         DATED this 2nd day of February, 2021.
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25
26                                                    A
                                                      Robert S. Lasnik
27                                                    United States District Judge
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     ORDER GRANTING UNOPPOSED MOTION TO CONTINUE
     TRIAL DATE AND PRETRIAL MOTIONS DEADLINE - 2
